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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF OREGON
                                  PORTLAND DIVISION

HANNAH AHERN,                                      Case No. 3:21-cv-00561-YY

Plaintiff,

       v.                                          PLAINTIFF’S BRIEF IN OPPOSITION TO
                                                   DEFENDANT CITY OF PORTLAND’S
ERIK KAMMERER, CITY OF                             MOTION FOR PARTIAL SUMMARY
PORTLAND; and JOHN DOES 1-5.                       JUDGMENT

Defendants.                                        Oral Argument Requested

     PLAINTIFF’S BRIEF IN OPPOSITION TO PARTIAL SUMMARY JUDGMENT

        Defendant City of Portland has moved for Partial Summary Judgment, but facts material

to the claims moved against by Defendant are disputed and summary judgment is unavailable.

On the date in question of this case, the City of Portland arrested individuals a jury could

conclude committed no act that gives rise to probable cause for arrest. A jury could conclude that

these people were arrested for standing on the side of anti-fascist Portlanders. Plaintiff Hannah

Ahern (“Plaintiff” or “Ms. Ahern”) was one such person. Defendant City supports their Motion

with declarations laying out their plans for policing the protests on August 17, 2019. What these

plans omit was laid bare on an open audio channel for all to hear: that even absent probable
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cause, the Portland Police wanted to arrest leftist protesters for nothing more than being in the

street demonstrating their First Amendment protected rights. The City cannot escape liability on

these facts.

          Defendant City moves on Claims 2 and 5, Plaintiff’s Monell theory claims that the City

had a pattern and practice of violating the First and Fourth Amendments. Based on the facts from

this case, the City had an open and verbalized policy of arresting leftist protesters without

probable cause. The City was so unabashed about this policy that they announced it over the

radio before realizing they were recording and then quickly stopped recording. Ms. Ahern was

the victim of this practice. Defendant Kammerer, knowing he had no probable cause to do so,

fabricated evidence in a report to justify arresting Ms. Ahern. He initiated the arrest of Ms.

Ahern because she spat towards an incoming police vehicle, an act of disgust that is clear to any

viewer.

          Defendant City condones and ratifies this behavior. As he testified in his deposition,

Defendant Kammerer has been investigated by the City on numerous occasions, resulting in

either no discipline or “debriefings” that were so inconsequential and substance-free that

Defendant Kammerer could not recall any content of the discussions or the persons with whom

he had the discussions.

          Because the City maintains this practice, the Court cannot grant their Motion.

                                    FACTUAL ALLEGATIONS

A. The Day of the Demonstration

          On August 17, 2019, the Proud Boys, a right-wing extremist group with ties to white

supremacist and neo-fascist groups, staged a rally in downtown Portland. First Am. Comp. ¶ 7,

Dkt. 37. The same day, a large group of Portland residents showed up to counter the Proud Boys

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protest—many of whom came to the “Be the Spectacle” counterprotest. Id. Plaintiff was leaving

work and decided to see the protest. Id. at ¶ 8.

          PPB officers were warned that after the June 29, 2019, protest there would be an event on

August 17 organized by                                that would also be attended by

and people with                           towards Portland city leadership and the Portland Police

Bureau. Ex. 5—Incident Action Plan (Filed under seal).

B. The Arrest

          At or around 2:00 pm, Ms. Ahern walked towards where she heard commotion and

happened upon the scene at SW Oak and SW 3rd Ave. Dkt. 37 at ¶ 34. She witnessed a femme-

presenting person get arrested for “twerking,” a type of dance. Id. Several officers pinned this

person to the ground and directed the on-lookers to not interfere with the arrest. Ms. Ahern tried

to document what was happening, but was directed by the police to cross the street. Id. at ¶¶ 34,

35, 38.

          Defendant Kammerer was present and witnessed Ms. Ahern being directed across the

street. Id. at ¶ 38. Ms. Ahern followed the directions of the two officers and began to cross SW

3rd Ave. Id. at ¶ 39. When the PPB officers directed her to cross the street, traffic had been

moving southward on SW 3rd Ave. Id. at ¶ 39. To avoid being in the way of traffic, Ms. Ahern

stopped walking and flagged several cars to pass her by. Id. When she entered the street, she saw

a police truck enter the middle of the intersection. Id. The officers were clad in riot gear: dark

black helmets and pads, carrying weapons. Based on what she had witnessed—the police

arresting a peaceful protester nowhere near the fascist provocateurs who had hijacked the City—

Ms. Ahern was displeased at the sight of the officers now arriving in gear only suitable for a

battlefield. Id.

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       While in the middle of the crosswalk, Ms. Ahern spat in the direction of, but nowhere

near, the officers arriving on the riot truck. Id. at ¶ 40; Ex. 001 at 0:03—Twitter Video.

Defendant Kammerer saw Ms. Ahern cross the street, saw that she did not cause a truck to stop

suddenly, and saw her spit in the direction of the approaching riot van. Id. at ¶ 41. In his police

report, Kammerer states that Plaintiff crossed the street directly in front of a vehicle that had to

“brake hard so as not to strike Hannah Ahern.” Id. at ¶ 44. He also characterizes Plaintiff as

“clearly involved in the demonstration.” Id.; Ex. 6—Ahern Arrest Report. Defendant Kammerer

claimed Ms. Ahern had committed the crime of Disorderly Conduct II. Id.

       In deposition, Defendant Kammerer reviewed footage of the incident and insisted that his

version of the events was accurate—including that Ms. Ahern had jumped in front of a moving

truck causing it to come to an abrupt stop. Kammerer Dep. 134:22-136:9. It is clear from the

video that the truck was nowhere near Ms. Ahern, and that she was being very careful and

considerate about the passing traffic. She was trying to follow the directions given to her by two

other officers to cross the street. Ex. 004—Airplane Video #3, at 1:30.

       When pressed on how close the truck was to Ms. Ahern, Defendant Kammerer dithered.

Kammerer Dep. 133:3-12; 134:21-136:9. Pressed on the fact that Ms. Ahern was not in front of

the truck thus causing it to abruptly brake, Defendant Kammerer insisted that Ms. Ahern was still

at fault. Id. at 143:20-144:7. When confronted by the fact that a riot van driven by PPB had

actually caused the truck to stop, Defendant Kammerer claimed that he did not see the very

obvious police vehicle in the intersection. Id. at 134:17-20. Additionally, Defendant Kammerer

himself walks into the intersection to contact Sgt. Cieota. Ex. 001.




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          Pressed on specific details regarding why Defendant Kammerer believed that Ms. Ahern

was “clearly involved in the demonstration,” Defendant Kammerer cited, “She was in the street

facing the police, [and] had an angry look on her face...” Kammerer Dep. 132:17-133:1.

          Defendant Kammerer denies that he had Ms. Ahern arrested because she spat towards the

police. Kammerer Dep. 191:10-13. The video of the event contradicts this. Ex. 004. Defendant

Kammerer clearly only becomes animated after Ms. Ahern spat. Id. Ex. 001 at 0:04. Until then,

Defendant Kammerer remained visibly unconcerned as a truck—per his report, testimony to the

Independent Police Review, Ex. 7 at Ln. 401-403: Excerpt from IPR interview (Filed under seal),

and in deposition—allegedly almost hit Ms. Ahern. Despite expressing concern for her safety in

his IPR interview, he was unconcerned on August 17. He also made no effort to cite the truck

driver for allegedly almost running into Ms. Ahern. Kammerer Dep. 133:3-13.

C. Disorderly Conduct II Arrests on the Same Day.

          On August 17, 2019, the City maintained a practice of using low-level Disorderly

Conduct II and Interference with a Police Officer arrests to clear protesters exercising their civil

rights.

          At 13:17:58 on August 17, time stamp 14:14 in the police plane video cited below, an

officer radio transmission states “are you greenlighting arrests based on individual PC for

discon?” followed by another officer who says “absolutely.” Ex. 002—Airplane Video #1. The

verbal tone of this exchange could be interpreted as mocking. At 20:14 timestamp in the same

video (13:23:54 on Aug 17), an officer says, “I know it might be a stretch, but if we can arrest a

couple people for discon… if we can” followed by another officer saying “are we recording?” Id.

The recording then abruptly shuts off at that point and does not turn back on for another 7

minutes. Ex. 1 – 2 (Exhibits 2 and 3 and sequential, and the timestamps indicate a time gap of

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about 7 minutes). There is no further mention nor admonishment on the recordings indicating

that a supervisor had corrected the previous statement.

          On August 17, 2019, four people were arrested for either or both Disorderly Conduct II

and/or Interference with a Police Officer: Teagan Winkler, Hezekiah Bulnes, Alonna Mitsch, and

Plaintiff Hannah Ahern.

          Winkler. Teagan Winkler exercised her constitutionally-protected speech rights and

attempted to counter the hate speech with the roar of her motorcycle engine. Officer Pavon, a

Portland Police Bureau member with a checkered past, allegedly “told Winkler again to stop and

gave her opportunity to stop her behavior; however, Winkler was careless and demonstrated she

did not care and failed to stop. Winkler gave me no other option than to arrest her.” Ex. 8—

Winkler Arrest Report. Officer Pavon became a Portland Police Officer after being fired by

another police department in California, and was later investigated by the Police Bureau for

allegedly attempting to frame another man with slashing his tires. 1 Making mechanical noise

with a motor vehicle to drown out fascist speech is itself protected political speech. See, e.g.,

City of Eugene v. Powlowski, 116 Or App 186, 190 (1992) (“expression is no less protected

because it is manifested by a mechanical sound”); accord State v. Hagel, 210 Or App 360

(2006).

          Bulnes. Plaintiff did not locate any discovery about this arrest. From Court records, it

appears that Mr. Bulnes was arrested by the notorious protest officer, Craig Lehman. Ex. 9—

Lehman Employment File (Filed under seal).




1
 Maxine Bernstein, Tire-slashing of Portland police patrol car leads to investigation of officer, The Oregonian
(Dec. 4, 2013), available at https://www.oregonlive.com/portland/2013/12/tire-slashing_of_portland_poli.html.
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       Mitsch. Ms. Mitsch attended the demonstration wearing a hat with clear lettering stating

“BLACK LIVES MATTER” and also wore a shirt with the message Black Lives Matter. Mitsch

v. City of Portland, et. al., USDC of Or. Case No. 3:21-cv-01222-SB, Dkt. 1 at ¶ 11. Around

2:55pm, counter-demonstrators marched in the streets and sidewalks around the SW 3rd Avenue

and SW Oak area in downtown Portland. Id. at ¶ 12. Ms. Mitsch crossed the street and heard

music blaring NWA’s popular song, “Fuck Tha Police.” Id. Hearing the song while crossing the

street, Ms. Mitsch decided to twerk in front of a slow-moving Portland Police truck carrying riot

police, including Defendant Kammerer as depicted in Figure 1 in her Complaint. Id. Despite

others being in the street as well, Ms. Mitsch was targeted for arrest. Id. at ¶¶ 14, 15. The officers

violently took her to ground. Id. Her arms were twisted, and her wrists bound in too tight tie-

wraps. Id. Ms. Mitsch was charged with Interference with a Police Officer and Disorderly

Conduct II. Id. at ¶ 17. She denied these charges and took her case to a Multnomah County jury.

Id. She was acquitted on February 27, 2020. Id. at ¶ 18.

       Ahern. As discussed above, Ms. Ahern was arrested by Defendant Kammerer on

fabricated evidence that she had blocked traffic, evidence that would not allow a reasonable

officer to believe they had probable cause to arrest her.

D. A History of Complaints and No Discipline

       Defendant Erik Kammerer defines a City system of unaccountability and ratification of

unconstitutional behavior.

       Defendant Kammerer has been subject to a disciplinary investigation at least 10 times in

the last seven years. On five of those occasions, Defendant Kammerer had been “Exonerated” or

had findings “Not Sustained” but with debriefing.




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                Q. Okay. I see noted in later findings and dispositions the
                additional qualifier of "with debriefing." Do you know what that
                means "with debriefing"?
                A. I do.
                Q. What does that mean?
                A. So even though I wasn't found to be in violation of policy, we
                talk about it and what could have done better -- what could have
                been done better or different.

         Kammerer Dep. 40:10-19.

         For every occasion that Defendant Kammerer was “debriefed” in the last seven years, he

has no recollection of what was discussed or even who conducted the debriefing. Id. at 41:19-

42:6; 44:18-45:2; 48:21-49:2; and 80:10-19; Ex. 11—Interrogatory Response, at Interrogatory

No. 2.

            Assistant Chief Jeffrey Bell attempts to correct Defendant Kammerer’s memory gap

in his declaration through a hearsay recollection of a letter allegedly summarizing the coaching

that Defendant Kammerer received. Dkt. 66, ¶ 15.




         Another case involved Defendant Kammerer forcing a driver off the road for allegedly

speeding. As Defendant Kammerer explained:

                A. I was driving southbound on McLoughlin [more commonly
                known as Martin Luther King Blvd]. Mr. McCarthy was speeding,
                and rather than perform a traffic stop, I simply pulled forward in
                front of him and activated my rear deck lights on my unmarked
                police car, and I don't know why, but he then lost control of his car
                and crashed.
                Q. What did he crash into?
                A. The side barrier.
                Q. Were you behind his vehicle at first?
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                 A. I was beside him.

        Defendant Kammerer pulled this maneuver despite having no training do so.

                 Q. Was pulling in front of Mr. McCarthy an authorized tactic per
                 your training?
                 MR. CALDWELL: Object to form. Object to form. Sorry.
                 MR. MANLOVE: Join.
                 THE WITNESS: I don't recall being trained to do that.

        Defendant Kammerer was sued by Mr. McCarthy, which described that Defendant

Kammerer “entered Plaintiff’s lane and space, thereby forcing Plaintiff’s vehicle into a concrete

barrier, spinning Plaintiff’s vehicle 180 degrees…”2



                                                                                   Ex. 10 at 4—McCarthy

Investigation (Filed Under Seal). Defendant Kammerer settled this case,



       Id. He only faced a debriefing that he cannot recall.

        Turning to Ms. Ahern’s case specifically, IPR held a perfunctory inquiry into the matter.

They allowed Defendant Kammerer to misstate facts about the case, and no video was reviewed

with Mr. Kammerer despite its apparent availability. IPR provides no check on the Police

Bureau’s pattern and practice of unlawful and unconstitutional police actions.

E. The Pattern Persisted to the Present

        As subsequent litigation shows, the various apparatuses of nominal control over the

Portland Police Bureau exposed their inadequacies during the 2020 racial justice protests.




2
 At the time of this filing, both PACER.gov and the OECI, the online resource to access e-court documents, are
undergoing maintenance. Plaintiff will supplement the record after those systems are back online.
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       As the Court wrote in the Don’t Shoot Portland, et. al. v. City of Portland case,

“Plaintiffs have documented significant abuses by the Portland Police Bureau, described a

disciplinary and oversight system unable to handle the pressure of the 2020 protests, and

uncovered extreme bias and misinformation in PPB’s training. These facts and the events

described by protestors are deeply troubling.” Don’t Shoot Portland, et. al. v. City of Portland,

USDC Case No. 3:20-cv-00917-HZ, Dkt. 300, 2022 WL 2700307, *9 (D. Or. 2022). The Court

reviewed and considered “a sample of 41 FDCRs, we found 45 uses of force where the reported

justification on its face is incomplete or does not meet the Graham standard.” Don’t Shoot

Portland, at Dkt. 255, ¶ 8, Declaration of Ashlee Albies. The Court also reviewed IPR’s force

allegation investigations. “Thirty-three cases involving the use of force during protests were

administratively closed… largely because IPR could not identify the officer in question... Ten of

these cases were dismissed for no misconduct (i.e. there was no violation even if the allegations

were true), nine lacked merit, six lacked an available complainant, five did not involve PPB

officers, one was an unidentified employee, one involved ‘other judicial remedy,’ and one had a

third-party complaint.” Id. at Dkt. 300, 2022 WL 2700307, *5.

       Defendant Kammerer has or is currently facing lawsuits stemming from his actions

during the 2020 protests. Opbroek v. City of Portland, et. al., USDC of Or. Case No. 3:22-cv-

00610-JR; Vontillius v. City of Portland, et. al., USDC of Or. Case No. 3:22-cv-00765 YY; and

Warren v. City of Portland, et. al., MCCC 21CV21137. In Opbroek, Defendant Kammerer is

alleged to have thrown a flash bang grenade at a peaceful protester. In Vontillius, Defendant

Kammerer knocked down a line of passively resistant protesters, injuring the Plaintiff, then

walked away. In Warren, Defendant Kammerer allegedly hit a homeowner in the back of the




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head after the homeowner voiced anger at PPB for using tear gas in his neighborhood. Defendant

Kammerer has not been disciplined for any of these actions, even in Vontillius, which he settled.3

                                               ARGUMENT

A. Summary Judgment Standards

          To qualify for a grant of summary judgment, a moving party must establish the absence

of any “genuine issue as to any material fact.” FRCP 56(c). “A material fact is genuine if ‘the

evidence is such that a reasonable jury could return a verdict for the nonmoving party.’” Hanon

v. Dataproducts Corp., 976 F2d 497, 500 (9th Cir 1992) (quoting Anderson v. Liberty Lobby,

Inc., 477 US 242, 248, 106 S Ct 2505, 91 L Ed2d 202 (1986)). The inquiry is “whether there is

the need for a trial—whether, in other words, there are any genuine factual issues that properly

can be resolved only by a finder of fact because they may reasonably be resolved in favor of

either party.” Anderson, 477 US at 250.

          At the summary judgment stage, when overcoming a defendant’s motion for summary

judgment a plaintiff’s burden “is not high.” Pottenger v. Potlatch Corp., 329 F3d 740, 746 (9th

Cir 2003). In the Ninth Circuit, the following qualifications would need to be satisfied:

                   (1) “[M]ake a showing sufficient to establish a genuine issue of
                   fact with respect to any element for which it bears the burden of
                   proof” at trial;
                   (2) Show that “there is an issue that may reasonably be resolved in
                   favor of either party,” and that the issue should therefore be
                   resolved by the finder of fact; and
                   (3) “[C]ome forward with more persuasive evidence than would
                   otherwise be necessary when the factual context makes the
                   nonmoving party’s claim implausible.”

British Motor Car Distributors, Ltd. v. San Francisco Automotive Industries Welfare Fund, 882

F2d 371, 374 (9th Cir 1989); Leisek v. Brightwood Corp., 278 F3d 895, 898 (9th Cir 2002) (“If


3
    See fn. 2 regarding PACER.gov and OECI outages.
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the moving party shows the absence of a genuine issue of material fact, the non-moving party

must go beyond the pleadings and ‘set forth specific facts’ that show a genuine issue for trial.”

(quoting Celotex Corp. v. Catrett, 477 US 317, 323–324, 106 S Ct 2548, 91 L Ed2d 265

(1986))).

B. Monell Standards

       To establish municipal liability, a plaintiff must demonstrate that: (1) they were deprived

of a constitutional right; (2) the municipality had a policy, custom, or practice; (3) the policy,

custom, or practice amounted to deliberate indifference of the plaintiffs’ constitutional rights;

and (4) the policy, custom, or practice was the “moving force” behind the constitutional

violation. Dougherty v. City of Covina, 654 F.3d 892, 900 (9th Cir. 2011) (citation omitted).

       A plaintiff may establish that the policy, custom, or practice was the cause of injury in

three ways: (1) “a city employee committed the alleged constitutional violation pursuant to

[either] a formal governmental policy or a longstanding practice or custom which constitutes the

standard operating procedure of the local governmental entity”; (2) “the individual who

committed the constitutional tort was an official with final policy-making authority and that the

challenged action itself thus constituted an act of official governmental policy”; or (3) “an

official with final policy-making authority ratified a subordinate’s unconstitutional decision or

action and the basis for it.” Gillette v. Delmore, 979 F.2d 1342, 1346-47 (9th Cir. 1992)

(citations and internal quotations omitted).

C. Claim 2: Pattern of Unlawful Arrests of Left-leaning Protesters

       1. Fourth Amendment Right

       The Fourth Amendment protects “against unreasonable searches and seizures.” U.S.

Const. amend IV. “A ‘seizure’ triggering the Fourth Amendment’s protections occurs only when

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government actors have, ‘by means of physical force or show of authority, . . . in some way

restrained the liberty of a citizen.’” Graham v. Connor, 490 U.S. 386, 395 n.10 (1989)

(omissions in original) (quoting Terry v. Ohio, 392 U.S. 1, 19 n.16 (1968)). This may occur

through coercion, physical force, or a show of authority. United States v. Chan-Jimenez, 125

F.3d 1324, 1326 (9th Cir. 1997). On these facts, there is no dispute that Ms. Ahern was seized.

        “A claim for unlawful arrest is cognizable under § 1983 as a violation of the Fourth

Amendment, provided the arrest was without probable cause or other justification.” Lacey v.

Maricopa County, 693 F.3d 896, 918 (9th Cir. 2012) (citation omitted). “Probable cause exists if

the arresting officers had knowledge and reasonably trustworthy information of facts and

circumstances sufficient to lead a prudent person to believe that [the arrestee] had committed or

was committing a crime.” Gravelet-Blondin v. Shelton, 728 F.3d 1086, 1097-98 (9th Cir. 2013)

(alteration in original) (quoting Maxwell v. County of San Diego, 697 F.3d 941, 951 (9th Cir.

2012)). “To determine whether an officer had probable cause for an arrest, we examine the

events leading up to the arrest, and then decide whether these historical facts, viewed from the

standpoint of an objectively reasonable police officer, amount to probable cause. Because

probable cause deals with probabilities and depends on the totality of the circumstances, it is a

fluid concept that is not readily, or even usefully, reduced to a neat set of legal rules. It requires

only a probability or substantial chance of criminal activity, not an actual showing of such

activity. Probable cause is not a high bar.” District of Columbia v. Wesby, 138 S. Ct. 577, 586

(2018) (internal quotations and citations omitted).

        The probable cause and specificity requirements thus are the essential features of the

Fourth Amendment, because they provide the animating limitations on the intrusions of the




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government. Stanford v. Texas, 379 U.S. 476, 485 (1965).4 Indeed, as explained by the Court in

Stanford, that requirement of specificity is essential to protect the First Amendment, because

“unrestricted power of search and seizure could also be an instrument for stifling liberty of

expression.” Id. (quoting Marcus v. Search Warrant, 367 U.S. 717, 729 (1961)). Particularly

when people are engaged in activity that is specifically protected by the First Amendment—

assembling in groups in public places in order to express their opinions—the protections of the

Fourth Amendment must be scrupulously honored in order to avoid the danger identified by the

Court over 60 years ago. Marcus, 367 U.S. at 729.

         2. A Jury Could Conclude That the City Has An Unconstitutional Practice of Unlawful
         Arrests

         Defendant City spends the bulk of its motion describing the plans it wrote down

regarding the August 17, 2019, and related policies as described in their directives. Omitted is

what one officer admits on the radio: that arrests were driven on a “stretch” of the Constitution.

Ex. 002. A jury could conclude that this was in fact the plan and directive for the day. The other

officer saying, “Are we being recorded?” followed by the end of the recording further highlights

this. Id.

         The arrests made on the bases of Disorderly Conduct II and Interference with a Police

Officer were made within an hour or two of the airplane broadcasts. A jury could conclude that

the call for arrests made on the airplane radio channel was further discussed, and approved, when

the recording stopped. And, even if no further discussion occurred, the statement broadcast to all

officers policing the protest that unlawful arrests should be made is enough.


4
  The “immediate evil” that motivated the adoption of the Fourth Amendment was the history of general warrants
issued by the crown in the colonies. Payton v. New York, 445 U.S. 573, 583 (1980). In what was described as a
catalyzing event leading to America’s war for independence, James Otis described the evil at the heart of general
warrants that “they placed ‘the liberty of every man in the hands of every petty officer.’" Stanford v. Texas, 379 U.S.
476, 481 (1965).
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        As described above, Defendant Kammerer’s account of why he believed he had probable

cause to arrest Ms. Ahern flies in the face of the easily ascertainable facts presented to Defendant

Kammerer on August 17. Officers must have an objective, reasonable basis to formulate probable

cause. District of Columbia v. Wesby, 138 S. Ct. 577, 586 (2018). A jury could easily conclude

that he had none, and instead followed through with the stated plan announced over the radio.

        As Exhibit 004 shows, multiple officers encountered Ms. Ahern prior to Defendant

Kammerer directing Sgt. Cioeta to arrest her—including Sgt. Cioeta. Id. at 1:48 (Noting the

approaching squad of bicycle officers). Sgt. Cioeta testified that he did not witness the acts that

Defendant Kammerer wrote about in his report. Cieota Dep. 24:6-14. He did, however, direct his

officers to arrest Ms. Ahern after being directed by Defendant Kammerer. Id. at 27:6-6; 33:13-

34:8 (describing his testimony to an IPR investigator).

        It is clear from these facts that a) Defendant Kammerer did not have sufficient probable

cause to have Ms. Ahern detained, b) that Ms. Ahern’s rights were violated in the process, c)

Defendant Kammerer perpetrated this act because he knew that this was the plan all along to

arrest people on bogus charges, and d) that he would not be disciplined for it. On the latter point,

Defendant Kammerer was vindicated: he has not been held accountable for a clear violation of

Ms. Ahern’s rights. Nor has he been sufficiently disciplined for his other misconduct.

        The four officers who arrested people on August 17, 2019 did so with a similar

understanding. Officer Lino Pavon remained on the force following his highly suspicious

incident where he slashed his own tires in an attempt to frame another person. 5 Officer Lehman is

still on the force despite well-documented misconduct, including actually sustained uses of force.




5
 Maxine Bernstein, Tire-slashing of Portland police patrol car leads to investigation of officer, The Oregonian
(Dec. 4, 2013), available at https://www.oregonlive.com/portland/2013/12/tire-slashing_of_portland_poli.html.
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The officers involved in Ms. Mitsch’s arrest remain Portland Police officers. The City has been

deliberately indifferent to officer misconduct, and Ms. Ahern became another one of their

victims. They must a face a jury on this Claim.

D. Claim 5: Pattern of First Amendment Retaliation

       1. First Amendment Right

       “[A]s a general matter the First Amendment prohibits government officials from

subjecting an individual to retaliatory actions” for engaging in protected speech. Hartman v.

Moore, 547 U. S. 250, 256 (2006). In order to show a First Amendment violation, plaintiffs must

provide evidence that that their “protected activity was a substantial motivating factor in . . .

[D]efendant[s’] conduct,” that is, “there was a nexus between [Defendants’] actions and an intent

to chill speech.” Ariz. Students’ Ass’n v. Ariz. Bd. of Regents, 824 F.3d 858, 867 (9th Cir. 2016).

“As with proof of motive in other contexts, this element of a First Amendment retaliation suit

may be met with either direct or circumstantial evidence[.]” Ulrich v. City & Cty. of S.F., 308

F.3d 968, 979 (9th Cir. 2002).

       2. The Portland Police RRT Holds Deep Contempt for the Law and Protesters

       First, spitting is clear expressive that demonstrates disgust to any viewer. As Defendant

Kammerer kept reiterating, Ms. Ahern’s face appeared “angry,” Kammerer Dep. 132:17-133:1,

and Defendant Kammerer’s face appears angry when she sees her spit. Ex. 001 at 0:04.

Defendant Kammerer clearly did not need an explanation as to what Ms. Ahern’s expressive

conduct meant. A jury could easily conclude that there was a nexus between Defendant

Kammerer’s retaliatory act and Ms. Ahern’s protected conduct.

       Second, the Proud Boys also disrupted traffic, took over an entire bridge, and brought far

more alarm to the public than the counter-protesters did, as evinced by the size of the counter-

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protest to their presence. And yet, no Proud Boy was arrested on August 17. Despite the Proud

Boys and their associates running amok in Portland, OR for years on end, see First Amended

Complaint, Dkt. 37, ¶¶ 15-27, the Bureau still billed them as                                            Ex. 5—

Incident Action Plan (Filed under seal). A jury could conclude that the Portland Police had

picked a side.

        Third, the Rapid Response Team (“RRT”), whom Defendant Kammerer was deployed

with on the date of the incident, hold clear antipathy towards the civilian control of their

operations. In 2021, RRT resigned en masse in clear protest over one of their members being

indicted for criminally assaulting a protester. 6 Defendant Kammerer offered his personal

testimony as to why he believed the RRT should disband. He first blamed the Mayor Wheeler for

“suspended the use of tear gas.”7 Kammerer Dep. 102:3-4. Defendant Kammerer next blamed

former-Commissioner Hardesty for a misstatement she made. Id. at 103:4-12. Last, Defendant

Kammerer blamed the Multnomah County DA for not charging “most” crimes at protests. Id. at

105:8-22. On the latter point, DA Schmidt only limited prosecutions on cases involving the very

crimes abused by officers like Defendant Kammerer, including Disorderly Conduct II and

Interference with a Police Officer. 8 A jury could conclude that Defendant Kammerer, and the




6
  Maxine Bernstein, Officers, sergeants resign en masse from Portland’s Rapid Response Team crowd control unit,
The Oregonian (Jun. 17, 2021), available at https://www.oregonlive.com/crime/2021/06/officers-sergeants-with-
portlands-rapid-response-team-resign-from-the-specialized-crowd-control-unit.html.
7
  Mayor Wheeler did not suspend the use of tear gas until September 10, 2020. Everton Bailey Jr., Portland Mayor
Ted Wheeler orders police to immediately stop using type of tear gas on protest crowds, The Oregonian (Sept. 10,
2020), available at https://www.oregonlive.com/portland/2020/09/portland-mayor-orders-police-to-immediately-
stop-using-tear-gas-on-protest-crowds.html. Earlier in the summer, Mayor Wheeler limited the use of tear gas to
matters of “life-safety.” Don’t Shoot Portland, Dkt. 29 at 3 (Detailing the limitation placed ahead of the Court’s
temporary restraining order hearing on the use of tear gas.)
8
  MCDA, District Attorney Mike Schmidt announces policy regarding protest-related cases (August 11, 2020),
available at https://www.mcda.us/index.php/news/district-attorney-mike-schmidt-announces-policy-regarding-
protest-related-cases
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RRT, give no regard for civilian control when it feels like they might be actually held

accountable, and the City acquiesces to it, condoning their custom and practice.

       Last, as has been discussed in other litigation, the Portland Police held a 2018 RRT

training where “a slide glorifying violence against left wing protestors” was shown. Don’t Shoot

Portland, 2022 WL 2700307, *5 (D. Or. 2022). Defendant Kammerer claims he had not seen this

slide before. Kammerer Dep. 96:3-19. However, he did attend the training when it was shown.

Ex. 12—Excerpt from Training History. This slide went unremarked upon by Police Bureau

staff, including Commander Dobson, until it was produced in discovery in the Don’t Shoot case.

Ex. at 13 (“Only [Jeffrey McDaniel] and one other person, Commander Craig Dobson, recalled

seeing the meme prior to this investigation.”) This training occurred merely one year before Ms.

Ahern’s arrest. A jury could conclude that this training, and the silence surrounding it,

demonstrates the City’s custom and practice of attacking leftist protesters.

       Defendant City must a face a jury on this Claim.

                                         CONCLUSION

       Based on the foregoing, Defendant City’s Motion for Partial Summary Judgment must be

DENIED.

       DATED: February 23, 2024.

                                                              /s/ Juan C. Chavez
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